Case 1:08-cr-20319-DLG Document 142 Entered on FLSD Docket 09/30/2008 Page 1 of 6
Case 1:08-cr-20319-DLG Document 142 Entered on FLSD Docket 09/30/2008 Page 2 of 6
Case 1:08-cr-20319-DLG Document 142 Entered on FLSD Docket 09/30/2008 Page 3 of 6
Case 1:08-cr-20319-DLG Document 142 Entered on FLSD Docket 09/30/2008 Page 4 of 6
Case 1:08-cr-20319-DLG Document 142 Entered on FLSD Docket 09/30/2008 Page 5 of 6
Case 1:08-cr-20319-DLG Document 142 Entered on FLSD Docket 09/30/2008 Page 6 of 6
